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                                           8                                UNITED STATES DISTRICT COURT
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                                                                          NORTHERN DISTRICT OF CALIFORNIA
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                                                                                    SAN JOSE DIVISION
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                                               FUJITSU LIMITED,                    )               Case No.: 10-CV-03972-LHK
For the Northern District of California




                                          12                                       )
    United States District Court




                                                                  Plaintiff,       )
                                          13
                                                      v.                           )               ORDER DENYING DEFENDANTS’
                                          14                                       )               MOTION FOR RECONSIDERATION
                                               BELKIN INTERNATIONAL, INC.; BELKIN, )
                                          15   INC.; D-LINK CORPORATION; D-LINK    )
                                               SYSTEMS, INC.; and NETGEAR, INC.,   )
                                          16                                       )
                                                                  Defendants.      )
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                                          19          On December 9, 2012, Defendants filed a Motion for Reconsideration of the Court’s Order

                                          20   Regarding Fujitsu’s Objections to Demonstratives, or in the Alternative for Leave to Amend Expert

                                          21   Opinions. See ECF No. 510. For the reasons stated on the record on December 10, 2012, the

                                          22   Court DENIED Defendants’ Motion for Reconsideration.

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                                               Dated: December 13, 2012                           _______________________________
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                                                                                                  LUCY H. KOH
                                          25                                                      United States District Judge

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                                               Case No: 10-CV-03972-LHK
                                               ORDER DENYING DEFENDANTS’ MOTION FOR RECONSIDERATION
